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17                              UNITED STATES DISTRICT COURT
                               NORTHERN DISTRICT OF CALIFORNIA
18

19   GENTEX CORPORATION and INDIGO                     Case No.: 4:22-cv-03892-YGR
     TECHNOLOGIES, LLC,
20
          Plaintiffs,                                  [PROPOSED] ORDER ON INVOLUNTARY
21   THALES VISIONIX, INC.,                            PLAINTIFF THALES VISIONIX, INC.’S
          Involuntary Plaintiff,                       MOTION TO SEAL PORTIONS OF
22
     v.                                                RESPONSE TO JOINT MOTION TO
23                                                     DISMISS
     META PLATFORMS, INC., and META
24   PLAINTFORM TECHNOLOGIES, LLC,
               Defendants.
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         [PROPOSED] ORDER ON INVOLUNTARY PLAINTIFF THALES VISIONIX, INC.’S MOTION TO SEAL
                                     PORTIONS OF RESPONSE TO JOINT MOTION TO DISMISS - 1-
                                                                  Case No. 4:22-cv-03892-YGR
              Case 4:22-cv-03892-YGR Document 145-2 Filed 01/26/24 Page 2 of 2



1
              Upon consideration of the administrative motion to seal filed by Involuntary
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     Plaintiff Thales Visionix, Inc., the Declaration of Paul N. Tauger in support thereof, and
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     the applicable law, the Court GRANTS Plaintiff’s Administrative Motion to Seal Portions
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     of the Response to Joint Motion to Dismiss. The Clerk of Court shall file under seal the redacted
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     portions of the Response to Joint Motion to Dismiss.
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              IT IS SO ORDERED.
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9    Dated:                                       ______________________________
                                                  Honorable Yvonne Gonzalez Rogers
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                                                  United States District Judge
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         [PROPOSED] ORDER ON INVOLUNTARY PLAINTIFF THALES VISIONIX, INC.’S MOTION TO SEAL
                                     PORTIONS OF RESPONSE TO JOINT MOTION TO DISMISS - 2-
                                                                  Case No. 4:22-cv-03892-YGR
